      Case 3:23-cv-01310-ADC-GLS           Document 71        Filed 07/29/24   Page 1 of 19

                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 TBB INTERNATIONAL BANK CORP.,

         PLAINTIFF,

 V.
                                                           CASE NO. 23-CV-01310 (ADC)
 JOSÉ    ANTONIO    OLIVEROS    FEBRES
 CORDERO; ALEJANDRO J. VALENCIA
 HURTADO;    HOLDING    ACTIVO      LTD.;
 ALEXANDRA OLIVEROS FEBRES CORDERO;
 MARÍA EUGENIA FEBRES        CORDERO
 ZAMORA; JOSÉ ANTONIO OLIVEROS
 MORA; GORLIO ENTERPRISES LTD.; EL
 RETIRO GROUP LTD.; AIB PROPERTIES
 LIMITED LTD.; DON GOYO CORPORATION
 AVIATION; INVERSIONES SAITAM, S.A.;
 CONSULTORA BARU 2018, C.A.; GUSTAVO
 JOSÉ GERARDO CORREDOR SALCEDO;
 ALEJANDRO     ENRIQUE   MONTENEGRO
 DÍAZ; INVERSIONES ELEKTROGORSK, C.A.;
 INTELINVEST CASA DE VALORES, S.A.,

         DEFENDANTS.

                 JOSÉ ANTONIO OLIVEROS FEBRES CORDERO AND
                HOLDING ACTIVO LTD’S JOINT MOTION TO DISMISS

TO THE HONORABLE COURT:

        COMES NOW, Defendants, Jose Antonio Oliveros Febres Cordero (“Oliveros”), and

Holding Activo, Ltd. (“Activo”), by and through undersigned counsel, and pursuant to Fed. R. Civ.

P. 12(b)(6) jointly move to dismiss Plaintiff TBB International Bank Corp.’s (“TBB”) Complaint

for failure to state a claim upon which relief should be granted.

                             I.      PROCEDURAL BACKGROUND

        On June 12, 2023, TBB filed its ambitious yet unmeritorious Complaint against Defendants

José Antonio Oliveros Febres Cordero; Alejandro J. Valencia Hurtado; Holding Activo Ltd.;

Alexandra Oliveros Febres Cordero; María Eugenia Febres Cordero Zamora; José Antonio
    Case 3:23-cv-01310-ADC-GLS             Document 71        Filed 07/29/24       Page 2 of 19




Oliveros Mora; Gorlio Enterprises Ltd.; El Retiro Group Ltd.; AIB Properties Limited Ltd.; Don

Goyo Corporation Aviation; Inversiones Saitam, S.A.; Consultora Baru 2018, C.A.; Gustavo José

Gerardo Corredor Salcedo; Alejandro Enrique Montenegro Díaz; Inversiones Elektrogorsk, C.A.;

and Intelinvest Casa de Valores, S.A., (Docket No. 1).

       The Complaint alleges violations of the RICO statute, pursuant to 18 U.S.C. § 1962(c) and

(d) against all the above-captioned defendants (See Docket No. 1 at ¶234-264). The Complaint

further alleges various violations of Puerto Rico Laws, specifically for fraud and fraud in the

inducement against all the defendants (Docket No. 1 at ¶265-277), unjust enrichment against all

the defendants (Docket No. 1 at ¶278-299), breach of fiduciary duties against Oliveros and

Alejandro J. Valencia Hurtado (Docket No. 1 at ¶300-302), and collection of monies against

Oliveros (Docket No. 1 at ¶303-307).

       On September 25, 2023, codefendant’s Gustavo Jose Gerardo Corredor-Salcedo and

Alejandro J. Valencia-Hurtado filed their joint Motion to Dismiss the Complaint for failure to State

a Claim.1 (Docket No. 24)2.




1
  The motion to dismiss alleges various grounds for dismissal: (1) TBB’s failure to comply with
the stringent pleading standard for RICO claims; (2) failure to comply with the statute of
limitations as it relates to the TBB’s Puerto Rico Fraud claims. More specifically, as to the RICO
claims, the motion to dismiss at docket no. 24, correctly asserts that the complaint fails to allege
discrete acts of mail or wire fraud, transportation of stolen money, including the time, place, and
nature of the alleged predicate acts. Additionally, Plaintiff fails to establish closed ended [or open
ended] continuity sufficient to show a pattern of racketeering. Moreover, the state claims for fraud
and fraud in the inducement are time bared, the state claim for unjust enrichment are vague and
conclusory and are based on contractual agreements. (See Docket No. 24 p.2-3, 18).
2
  Defendants Oliveros and Activo expressly join the motions to dismiss filed by their codefendants
to the extent the arguments set forth therein apply to their own case. (See Docket Nos. 24, 30, and
54.) Their contents are fully incorporated by reference as if set forth herein.
                                                  2
    Case 3:23-cv-01310-ADC-GLS               Document 71        Filed 07/29/24       Page 3 of 19




        On October 25, 2023, Defendants Don Goyo Corporation Aviation, Gorlio Enterprises Ltd.,

Alexandar Oliveros-Febres-Cordero filed their joint Motion to Dismiss.3 (Docket No. 30). On

March 15, 2024, Defendant’s AIB Properties Limited Ltd., El Retiro Group Ltd., Maria Eugenia

Febres-Cordero-Zamora, and Jose Antoinio Oliveros-Mora filed their joint motion to dismiss.

(Docket No. 54). On June 20, 2024, Activo filed its Rule 7.1 Statement. (Docket No. 65).

                    II.     STANDARD OF REVIEW UNDER RULE 12(B)(6)

        An evaluation of a motion to dismiss under Rule 12(b)(6) requires the court to “accept as

true ‘all well-pleaded factual averments and indulg[e] all reasonable inferences in the [plaintiffs’]

favor.’” Doyle v. Hasbro, Inc., 103 F.3d 186, 190 (1st Cir. 1996) (quoting Aulson v. Blanchard, 83

F.3d 1, 3 (1st Cir. 1996). Dismissal under Rule 12(b)(6) is appropriate only if the facts alleged,

taken as true, do not establish a basis for recovery. Aulson, 83 F.3d at 3. In order to survive a motion

to dismiss, plaintiffs must “set forth factual allegations, either direct or inferential, respecting each

material element necessary to sustain recovery under some actionable legal theory.” Gooley v.

Mobil Oil Corp., 851 F.2d 513, 515 (1st Cir. 1988). Although all inferences must be made in the

plaintiff’s favor, the court is not required to accept “bald assertions, unsupportable conclusions,

periphrastic circumlocutions, and the like.” Aulson, 83 F.3d at 3.

        The Supreme Court decision in Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007),further

refines this standard by requiring that a complaint must “provide the grounds of his entitlement




3
  The Motion to Dismiss correctly points out practical issues with the Complaint. For one, the
Complaint lumps all 16 Defendants together and fails to specifically delineate which defendants
are responsible for specific acts. Similar to Docket No. 24, this Motion to Dismiss correctly argues
that the RICO claims fail for a various reason: (1) lack of requisite continuity for racketeering
activity, (2) the fact that there is only one alleged victim, which counsels against a finding of
continuity, (3) and an overall failure to comply with the RICO pleadings standard.


                                                   3
    Case 3:23-cv-01310-ADC-GLS              Document 71        Filed 07/29/24      Page 4 of 19




[with] more than labels and conclusions.” Accordingly, in order to avoid dismissal, the plaintiff

must provide the grounds upon which his claim rests through factual allegations sufficient ‘to raise

a right to relief above the speculative level.’” Torres v. Bella Vista Hosp., Inc., 523 F. Supp. 2d

123, 133 (D.P.R. 2007) (quoting Twombly, 550 U.S. at 555, 570) (citation omitted). Although

Twombly was initially decided in the antitrust context, the Supreme Court in Ashcroft v. Iqbal, 556

U.S. 662, 684 (2009), clarified that this standard applies universally across all civil actions.

       To further assess the sufficiency of the complaint, a two-pronged analysis is applied. Under

the two-step “plausibility” standard established by Twombly, the Court in considering a motion to

dismiss must first “accept as true all of the allegations contained in a complaint [,]” discarding

legal conclusions, conclusory statements and factually threadbare recitals of the elements of a

cause of action. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The Court “need not accept as true

legal conclusions from the complaint or ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Maldonado v. Fontanes, 568 F.3d 263, 266 (1st Cir. 2009) (quoting Iqbal, 556

U.S. 678). Under the second step of the inquiry, the Court must determine whether, based upon all

assertions that were not discarded under the first step of the inquiry, the complaint “states a

plausible claim for relief.” Iqbal, 556 U.S. 679.Thus, “[i]n order to survive a motion to dismiss,

[a] plaintiff must allege sufficient facts to show that he has a plausible entitlement to relief.”

Sanchez v. Pereira-Castillo, 590 F.3d 31, 41(1st Cir. 2009). “[W]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint has alleged

—but has not ‘show[n]’ ‘that the pleader is entitled to relief.’” Iqbal, 556 U.S. at 679 (quoting Fed.

R. Civ. P. 8(a)(2)). Furthermore, such inferences must be at least as plausible as any “obvious

alternative explanation.” Id. at 685 (citing Twombly, 550 U.S. at 567).




                                                  4
    Case 3:23-cv-01310-ADC-GLS             Document 71        Filed 07/29/24      Page 5 of 19




        Furthermore, when the complaint alleges claims of fraud, as in this case, they are subject

to the heightened pleading requirements of Fed. R. Civ. P. 9(b). See Doyle v. Hasbro, Inc., 103 F.3d

186, 194 (1st Cir. 1996). Federal Rule of Civil Procedure 9(b), requires that “[i]n alleging fraud or

mistake, a party must state with particularity the circumstances constituting fraud or mistake.”

Ultimately, to state a claim for fraud or misrepresentation, the pleader “must state the who, what,

where, and when of the allegedly misleading representation with particularity.” Ezell v. Lexington

Ins. Co., 926 F.3d 48, 51 (1st Cir. 2019) (emphasis ours). One of the main purposes of the rule is

to apprise the defendant of fraudulent claims and of the acts that form the basis for the claim.

Hayduk v. Lanna, 775 F.2d 441, 443 (1st Cir. 1985). Where, as here, “fraud lies at the core of the

action, [Rule 9(b) does not permit a complainant to file suit first, and subsequently to search for a

cause of action.” Lopez v. Bulova Watch Co., Inc., 582 F.Supp. 755, 766 (D.R.I.1984) (citations

omitted)(emphasis ours).

       The First Circuit has interpreted Rule 9(b) to require “specification of the time, place, and

content of an alleged false representation.” Greebel v. FTP Software, Inc., 194 F.3d 185, 193 (1st

Cir. 1999)(quoting McGinty v. Beranger Volkswagen, Inc., 633 F.2d 226, 228 (1st Cir.1980)).

Moreover, “[e]ven where allegations are based on information and belief, supporting facts on

which the belief is founded must be set forth in the complaint. This holds true even when the fraud

relates to matters peculiarly within the knowledge of the opposing party.” Hayduk, 775 F.2d at

444.

       This heightened pleading requirement holds particularly true in the case of RICO claims,

as the First Circuit has reiterated “that RICO pleadings of mail and wire fraud must satisfy the

particularity requirements of Rule 9(b).” Ahmed v. Rosenblatt, 118 F.3d 886, 889 (1st Cir. 1997)

(citing Feinstein v. Resolution Trust Corp., 942 F.2d 34, 42 (1st Cir. 1991)). See also MCDP



                                                 5
    Case 3:23-cv-01310-ADC-GLS             Document 71        Filed 07/29/24      Page 6 of 19




Phoenix Servs. PTE Ltd. v. First Fin. Int’l Bank, Inc., Civil No. 21-1534 (JAG), 2023 WL 2652644,

at*3 (D.P.R. Mar. 27, 2023) (“Due to the exceptional nature of the statute, complaints that allege

a RICO claim must comply with uniquely stringent pleading standards to survive a motion to

dismiss.”); Latin Am. Music Co. v. Disco Hit Productions, Civil 02-1788 (ADC), 2006 WL

8449986, at 15 (D.P.R. June 19, 2006) (where RICO complaint is based on predicate acts of wire

fraud, “the pleadings must meet both the heightened scrutiny applied to RICO claims and the Rule

9(b) particularity requirement.”).

       In Miranda v. Ponce Federal Bank, 948 F.2d 41, 44 (1st Cir. 1991), the First Circuit

described the standard against which pleadings in a civil RICO complaint must be measured upon

a Court's determination of a Rule 12(b)(6) motion to dismiss:

       For one thing, the complaint must be anchored in a bed of facts, not allowed to float
       freely on a sea of bombast. That is to say, a court assessing a claim's sufficiency has
       no obligation to take matters on blind faith; despite the highly deferential reading
       which we accord a litigant's complaint under Rule 12(b)(6), we need not credit bald
       assertions, periphrastic circumlotions, unsubstantiated conclusions, or outright
       vituperation. For another thing, in cases alleging civil RICO violations, particular
       care is required to balance the liberality of the Civil Rules with the necessity of
       preventing abusive or vexatious treatment of defendants. Civil RICO is an
       unusually potent weapon — the litigation equivalent of a thermonuclear device.
       The very pendency of a RICO suit can be stigmatizing, and its consummation can
       be costly; a prevailing plaintiff, for example, stands to receive treble damages and
       attorney's fees. See 18 U.S.C. § 1964(c). For these reasons, it would be unjust if a
       RICO plaintiff could defeat a motion to dismiss simply by asserting an inequity
       attributable to a defendant's conduct and tacking on the self-serving conclusion that
       the conduct amounted to racketeering. Hence, to avert dismissal under Rule
       12(b)(6), a civil RICO complaint must, at a bare minimum, state facts sufficient to
       portray (i) specific instances of racketeering activity within the reach of the RICO
       statute and (ii) a causal nexus between that activity and the harm alleged.

Dibbs v. Gonsalves, 921 F. Supp. 44, 49-50 (D.P.R. 1996).




                                                 6
      Case 3:23-cv-01310-ADC-GLS             Document 71         Filed 07/29/24     Page 7 of 19




                                  III.    FACTUAL ALLEGATIONS4

          At all times relevant to the Complaint, Plaintiff was doing business under Activo PR and

was authorized under the laws of Puerto Rico to accept and demand fixed-term deposits, as well

as interbank deposits from non-Puerto Rico residents. (Docket No. 1, ¶ 81). Plaintiff was wholly

owned by Activo, an entity organized, existing, and doing business under and by virtue of the laws

of Barbados. (Id. at ¶ 82). Oliveros, and codefendants Valencia, Montenegro, Anaheim Equities

Corp., Daniel Yepez Gonzalez, Jose Miguel Contreras Santos, and Miguel Edwardo Archilla

Morales were the shareholders of Activo at all times relevant to this action. (Id. at ¶ 82). Plaintiff

claims that the defendants engaged in three distinct schemes of which it was a victim.

          The first scheme is identified as the credit facility and loan scheme. Plaintiff alleges

Oliveros would approve loans or letters or credit to customers in his capacity as a director of the

bank only to have those customers then transfer the proceeds of those loans or credit facilities

either directly to Oliveros or to entities related-to or controlled by him. (Id. at ¶ 103.) The only

example the plaintiff provides, however, relates to a loan extended to Customer A on February 9,

2017. (Id. at ¶ 98.) The proceeds of that loan were allegedly wired to Gorlio Enterprises, a company

owned by Oliveros’ mother and sister. (Id. at ¶ 99.) The Plaintiffs do not allege any

misrepresentation or false statement in relation to this loan.

          The second scheme is identified as the prepaid services scheme. Plaintiff alleges that

Oliveros and Valencia executed service contracts with Inversiones Saitam and Cosultora Baru to

provide services to Plaintiff by means of a prepaid services agreement. (Id. at ¶107). Plaintiffs

claim the prepaid services were not rendered as agreed. Instead, the funds of the prepayments made

by the bank to Inversiones Saitam and Consultora Baru were transferred to accounts related to


4
    Nothing in this section shall be deemed an admission that a particular allegation is true.
                                                    7
    Case 3:23-cv-01310-ADC-GLS              Document 71         Filed 07/29/24      Page 8 of 19




and/or under the control of Oliveros, such as Gorlio Enterprises and AIB Properties Limited. (Id.)

Allegedly, the Defendants and non-party co-conspirators withheld crucial information from the

Plaintiff, hindering its ability to oversee and prevent such disadvantageous arrangement. As is the

case with the first scheme, the Plaintiffs do not allege any misrepresentation or false statement in

relation to this loan made by any defendant or any so-called “non-party coconspirator.”

        The third and final scheme is identified as the bank assets as collateral scheme. This scheme

allegedly involved diverting the Bank assets to collateralize loans for the Defendants’ benefit

through third party financial institutions and standby letters of credit against the assets of the Bank.

(Id. at ¶133). As an example, Plaintiff alleges the bank extended a standby letter of credit to Gorlio

Enterprises to guarantee payment for a loan with a third-party lender. (Id. at ¶136.) Gorlio

Enterprises ultimately defaulted on the loan and the bank paid out the amount due. (Id. at ¶136.)

The plaintiff also raises similar allegations regarding Intelinvest Casa de Valores SA; Inverisones

Elektrogorsk, C.A.; and Holding Activo Ltd. (Id. at ¶¶ 141-169.) Plaintiffs similarly fail to provide

detail regarding the fraudulent nature of these transactions.

        Plaintiff alleges these funds were used to feed the fraud cycle of the different schemes.

However, the precise roles of each defendant in these schemes and their specific actions facilitating

them are not clearly delineated.

                                          IV.     ARGUMENT

        Plaintiff’s RICO claims are predicated upon alleged violations of 18 U.S.C. § 1962(c) and

18 U.S.C. § 1962(d). In order to prevail in a civil RICO claim under 18 USC § 1962(c), a plaintiff

typically needs to establish: (1) the engagement in conduct (2) of an enterprise (3) through a pattern

(4) of racketeering activity or a single collection of an unlawful debt. Int'l. Floor Crafts, Inc. v.




                                                   8
    Case 3:23-cv-01310-ADC-GLS               Document 71        Filed 07/29/24       Page 9 of 19




Dziemit, 420 F. App'x 6, 12 (1st Cir. 2011). Moreover, the Plaintiff must demonstrate that their

business or property suffered injury as a direct result of the violation of 18 USC § 1962.

        The First Circuit consistently maintains that a civil RICO claim under 18 USC § 1962(c)

hinges upon meeting four essential elements. The first element, “conduct,” mandates that the

defendant be associated with or employed by an enterprise affecting interstate or foreign

commerce. The second element, “of an enterprise,” necessitates proving the existence of an

“enterprise” as defined in 18 U.S.C. § 1961(4). The third element, “through a pattern,” obligates

the plaintiff to demonstrate at least two instances of “racketeering activity” under 18 U.S.C. §

1961(1). To establish a “pattern,” the plaintiff must demonstrate that the related predicate acts

amount to or pose a threat of continued criminal activity, which can be shown through either

“closed” or “open-ended” continuity. Dibbs v. Gonsalves, 921 F. Supp. 44 (D.P.R. 1996). Lastly,

the fourth element, “of racketeering activity,” requires establishing that the defendant knowingly

and willfully participated in the scheme with an intent to defraud. As it relates to the predicate acts

of mail and wire fraud, the First Circuit has articulated specific criteria requiring: (1) the execution

of a scheme to defraud, (2) knowing and willful involvement in the scheme with an intent to

defraud, and (3) the use of the mails or interstate wires to further the scheme. Dziemit, at 13. The

Plaintiff alleges that Oliveras and his codefendants engaged in three schemes to deceive the

Plaintiff.

        The Complaint suffers from multiple legal failings. Generally, it fails to plead fraud with

particularity; fails to allege two or more predicate acts or racketeering; and fails to adequately

allege continuity of a “pattern of racketeering activity.” At the outset, it should be stated that in

order to avert dismissal under Rule 12(b)(6), a civil RICO complaint must, at a bare minimum,

state facts sufficient to portray (i) specific instances of racketeering activity within the reach of the



                                                   9
    Case 3:23-cv-01310-ADC-GLS            Document 71       Filed 07/29/24      Page 10 of 19




RICO statute and (ii) a causal nexus between that activity and the harm alleged. Miranda v. Ponce

Federal Bank, 948 F.2d 41, 44 (1st Cir. 1991). The Complaint fails to allege distinct or additional

damages as a result of investment of racketeering income. Second, Plaintiff separately pleaded

RICO claims fail to sufficiently allege a “pattern” of racketeering activity with respect to each

claim based on alleged acts of mail and wire fraud. Plaintiffs’ non-RICO claims also fail to state a

claim insofar as they are time-barred.

    A. Plaintiff’s complaint fails to comply with Federal Rule of Civil Procedure 9(b).

       “RICO pleadings of mail and wire fraud must satisfy the particularity requirements of Rule

9(b).” Ahmed v. Rosenblatt, 118 F.3d 886, 889 (1st Cir. 1997) (citing Feinstein v. Resolution Trust

Corp., 942 F.2d 34, 42 (1st Cir. 1991)). See also MCDP Phoenix Servs. PTE Ltd. v. First Fin. Int’l

Bank, Inc., Civil No. 21-1534 (JAG), 2023 WL 2652644, at*3 (D.P.R. Mar. 27, 2023) (“Due to the

exceptional nature of the statute, complaints that allege a RICO claim must comply with uniquely

stringent pleading standards to survive a motion to dismiss.”); Latin Am. Music Co. v. Disco Hit

Productions, Civil 02-1788 (ADC), 2006 WL 8449986, at 15 (D.P.R. June 19, 2006) (where RICO

complaint is based on predicate acts of wire fraud, “the pleadings must meet both the heightened

scrutiny applied to RICO claims and the Rule 9(b) particularity requirement.”). 5

       The viability of all of Plaintiff’s claims against Oliveros and Holding require the Court to



5
  Thus, in the RICO context, “Rule 9(b) calls for the complaint to ‘specify the statements it claims
were false or misleading, give particulars as to the respect in which plaintiffs contend the
statements were fraudulent, state when and where the statements were made, and identify those
responsible for the statements.’ … The plaintiffs must also ‘identify the purpose of the mailing
within the defendant’s fraudulent scheme.’” Alejandro-Martinez v. Ortiz-Vazquez, Civil No. 10-
1541(CCC), 2011 WL 4807714, at *3 (D.P.R. Oct. 11, 2011) (cleaned up). See Puerto Rico Medical
Emergency Group, Inc. v. Iglesia Episcopal Puertorriqueña, Inc., 118 F. Supp.3d 447, 457 (D.P.R.
2015) (dismissing RICO claim which failed to allege the “specific dates” of the mails and wires,
the “specific persons” who sent them and the “places from which or to where the invoices were
sent.”).
                                                10
    Case 3:23-cv-01310-ADC-GLS           Document 71        Filed 07/29/24      Page 11 of 19




find that the defendants defrauded Plaintiff in relation to the three schemes set forth in the

complaint . Federal Rule of Civil Procedure 9(b) provides that “[i]n all averments of fraud or

mistake, the circumstances constituting fraud or mistake shall be stated with particularity.”

Fed.R.Civ.P. 9(b). One of the main purposes of the rule is to apprise the defendant of fraudulent

claims and of the acts that form the basis for the claim. Hayduk v. Lanna, 775 F.2d 441, 443 (1st

Cir. 1985). Where, as here, “fraud lies at the core of the action, [Rule 9(b) does not permit a

complainant to file suit first, and subsequently to search for a cause of action.” Lopez v. Bulova

Watch Co., Inc., 582 F.Supp. 755, 766 (D.R.I.1984) (citations omitted)(emphasis ours).

       The First Circuit has interpreted Rule 9(b) to require “specification of the time, place, and

content of an alleged false representation.” Greebel v. FTP Software, Inc., 194 F.3d 185, 193 (1st

Cir. 1999)(quoting McGinty v. Beranger Volkswagen, Inc., 633 F.2d 226, 228 (1st Cir.1980)).

Moreover, “[e]ven where allegations are based on information and belief, supporting facts on

which the belief is founded must be set forth in the complaint. And this holds true even when the

fraud relates to matters peculiarly within the knowledge of the opposing party.” Hayduk, 775 F.2d

at 444. Finally, and perhaps most importantly, rule 9(b)’s requirements apply to both general

claims of fraud and also to “associated claims,” such as Plaintiff’s, “where the core allegations

effectively charge fraud.” Mulder v. Kohl’s Dep’t Stores, Inc., 865 F.3d 17, 21–22 (1st Cir.

2017)(quoting North Am. Catholic Educ. Programming Found., Inc. v. Cardinale, 567 F.3d 8, 15

(1st Cir. 2009))(emphasis ours).

       Merriam-Webster’s dictionary defines fraud as the “intentional perversion of truth in order

to induce another to part with something of value or to surrender a legal right.” 6 Black’s Law



6
      Fraud,       Merriam-Webster         Dictionary          (2024),       https://www.merriam-
webster.com/dictionary/fraud#word-history.


                                                11
     Case 3:23-cv-01310-ADC-GLS             Document 71         Filed 07/29/24      Page 12 of 19




Dictionary similarly defines fraud as “some deceitful practice or willful device, resorted to with

intent to deprive another of his right, or in some manner to do him an injury.”7 Here, even a cursory

review of the nature of the three schemes set forth in the complaint prompt the conclusion that they

all allege the same general conduct—fraudulent misrepresentations made to the bank in order to

secure credit facilities or funds that were ultimately diverted to some of the defendants.

          When reviewing Plaintiff’s complaint, the Court will readily glean that the details of the

fraudulent misrepresentations that set the three alleged schemes in motion are wholly absent. The

assertions are generalized, failing to specify the exact time, location, and nature of alleged illegal

activities, or identify the defendants involved in each offense, specifically. Instead of providing

concrete evidence, Plaintiff relies on unsubstantiated arguments and vague allegations about

various schemes involving money transfers, neglecting the required level of detail. The only details

set forth in the complaint are the dates on which loans were approved by the bank. However, there

is not one scintilla of detail regarding the false assertions that led to the procurement of those credit

facilities, or the award of the contracts to the participants in the prepaid services scheme, or the

collateralization of the bank’s assets. This is wholly improper and requires dismissal of the action

in its entirety.

      B. Plaintiff’s complaint fails to plead an enterprise distinct from its members.

          “[T]to establish liability under § 1962(c) one must allege and prove the existence of two

distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not simply the same ‘person’ referred

to by a different name.” Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 161 (2001).

Formal “(as when there is incorporation)” or practical “(as when there are people besides the


7
    Fraud, Black’s Law Dictionary, Free (2nd ed., 2024), https://thelawdictionary.org/fraud/.


                                                   12
   Case 3:23-cv-01310-ADC-GLS              Document 71        Filed 07/29/24      Page 13 of 19




proprietor working in the organization)” separateness is sufficient to be distinct under Section

1962(c). United States v. London, 66 F.3d 1227, 1245 (1st Cir. 1995) (internal citation omitted);

accord Cedric Kushner Promotions, Ltd., 533 U.S. at 163 (internal citation omitted). Distinctness

between the defendant and the enterprise is lacking only when there is complete identity between

the two, as a defendant can be part of an enterprise that is broader than a single defendant—such

as an association-in-fact enterprise. See, e.g., United States v. Goldin Indus., Inc., 219 F.3d 1271,

1276 (11th Cir. 2000) (holding that “the fact that each corporation was a defendant ‘person’ and

also part of the union of corporations which was the enterprise does not as a matter of law preclude

a conviction”); United States v. Fairchild, 189 F.3d 769, 776-777 (8th Cir. 1999) (finding that

charging Gruber and his associates as persons and as an enterprise was proper because none of the

defendants was “singularly” charged as an enterprise); Securitron Magnalock Corp. v. Schnabolk,

65 F.3d 256, 262-63 (2d Cir. 1995) (concluding that the defendant, who was an officer, agent, and

owner of two corporations, was distinct from the RICO enterprise consisting of the defendant and

the corporations).

       The term “enterprise,” as used in the RICO statutes, includes association-in-fact enterprises

which are defined as “a group of persons associated together for a common purpose of engaging

in a course of conduct.” Boyle v. United States, 556 U.S. 938, 946 (2009) (internal citation omitted).

The Supreme Court has set forth a test to be used to determine the sufficiency of an association-

in-fact enterprise. Namely, “an association-in-fact enterprise must have at least three structural

features: a purpose, relationships among those associated with the enterprise, and longevity

sufficient to permit these associates to pursue the enterprise’s purpose.” Id. The First Circuit has

elaborated on these concepts as follows:




                                                 13
   Case 3:23-cv-01310-ADC-GLS             Document 71        Filed 07/29/24       Page 14 of 19




               As to [1] — purpose — the group must share the common purpose of
               engaging in a course of conduct. As to [2] —relationship — there must also
               be evidence of interpersonal relationships calculated to effect that purpose,
               i.e., evidence that the group members came together to advance a certain
               object or engag[e] in a course of conduct. And as to [3] — longevity — the
               group must associate based on its shared purpose for a sufficient duration
               to permit an association to participate in [the enterprise’s affairs] through a
               pattern of racketeering activity, though nothing in RICO exempts an
               enterprise whose associates engage in spurts of activity punctuated by
               periods of quiescence.


United States v. Rodriguez-Torres, 939 F.3d 16, 24 (1st Cir. 2019) (citations and quotation marks

omitted). Those associated in fact must “‘function as an ongoing unit’ and constitute an ‘ongoing

organization.’” United States v. Cianci, 378 F.3d 71, 82 (1st Cir. 2004) (internal citation omitted).

The enterprise, however, “need not be formal or have an ‘ascertainable structure.’” United States

v. Connolly, 341 F.3d 16, 25 (1st Cir. 2003) (internal citation omitted).

       “[T]he enterprise must be distinct from the pattern of racketeering activity.” United States

v. Nascimento, 491 F.3d 25, 32 (1st Cir. 2007) (internal citation omitted). “An enterprise is

chiefly distinguished from the pattern of racketeering activity by the fact that it possesses some

goal or purpose more pervasive and more enduring than the instant gratification that can accrue

from the successful completion of each particular criminal act.” Id. (internal citation omitted)

(emphasis ours). And while the existence of the enterprise is a distinct element from the pattern of

racketeering activity, the Supreme Court has recognized that the existence of the enterprise may

be inferred from the pattern of racketeering activity because “the evidence used to prove the pattern

of racketeering activity and the evidence establishing an enterprise ‘may in particular cases

coalesce.’” Boyle, 556 U.S. at 947 (internal citation omitted); accord United States v. Patrick, 248

F.3d 11, 19 (1st Cir. 2001) (citing United States v. Turkette, 452 U.S. 576, 583 (1981)) (“While


                                                 14
   Case 3:23-cv-01310-ADC-GLS              Document 71         Filed 07/29/24    Page 15 of 19




‘enterprise’ and ‘pattern of racketeering activity’ are separate elements of a RICO offense, proof

of these two elements need not be separate or distinct but may in fact ‘coalesce.’”). “The existence

of an association-in-fact is oftentimes more readily proven by what it does, rather than by abstract

analysis of its structure.” Boyle 556 U.S. at 951 (holding that “the trial judge did not err in

instructing the jury that ‘the existence of an association-in-fact is oftentimes more readily proven

by what is [sic] does, rather than by abstract analysis of its structure”).

       The Complaint here fails to plead facts that establish that the members of the alleged

enterprise had a common purpose. The complaint sets forth three schemes with different

participants and different modes of operation without establishing how these schemes all furthered

the purposes of the enterprise. Similarly, but for generally pleading some familial relationship

between some of the defendants, the Complaint does not explain how the members of the enterprise

are all related so as to properly form an association-in-fact. Finally, and as will be more fully

briefed below, the complaint fails to establish the requisite longevity because its members only

acted within a brief time frame and did not engage in a prolonged pattern of racketeering activity.

The Complaint must therefore be dismissed.

   C. Plaintiff’s complaint fails to plead a pattern of racketeering activity.

       Section 1961(5) of the RICO statute defines a “‘pattern of racketeering activity . . . as two

or more ‘racketeering acts’ that were related, occur within ten years of one another, and pose a

threat of continued criminal activity.’” United States v. Ramos-Baez, 86 F.4th 28, 45 (1st Cir. 2023)

(quoting United States v. Millán-Machuca, 991 F.3d 7, 18 (1st Cir. 2021) and citing 18 U.S.C. §

1961(5)). Section 1961(1) of the statute, in turn, provides that racketeering activity includes wire

fraud. See 18 U.S.C. § 1961(1); see also 33 L.P.R.A. § 5261; 18 U.S.C. § 1951; and 18 U.S.C. §

1343. Establishing a pattern sufficient to state a claim under RICO requires that plaintiffs allege


                                                  15
   Case 3:23-cv-01310-ADC-GLS             Document 71        Filed 07/29/24      Page 16 of 19




“continuity plus relationship.” H. J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989) (internal

citation omitted). The alleged acts of racketeering must be “both related and amount to or pose a

threat of continued criminal activity.” Lerner v. Colman, 26 F.4th 71, 84 (1st Cir. 2022) (internal

citations omitted) (cleaned up).

       The Supreme Court and our Court of Appeals “have declined to spell out specifically how

many predicate acts, or how long the racketeering has to endure, for a plaintiff to satisfactorily

allege the pattern requirement.” Home Orthopedics Corp. v. Rodríguez, 781 F.3d 521, 529 (1st Cir.

2015). The Supreme Court has, however, elected to define continuity, or a threat of continuity, of

racketeering activity as “referring either to a closed period of repeated conduct, or to past conduct

that by its nature projects into the future with a threat of repetition.” H. J. Inc. at 241 (1989)

(internal citation omitted).

       To allege closed-ended continuity, “[a] party alleging a RICO violation may demonstrate

continuity over a closed period by proving a series of related predicates extending over a

substantial period of time.” Id. at. 242. In determining whether there is closed-ended continuity,

courts are not limited to looking only at the predicate acts; “rather, a court should consider the

totality of the circumstances surrounding the commission of those acts.” Heinrich v. Waiting

Angels Adoption Servs., 668 F.3d 393, 410 (6th Cir. 2012) (internal citation omitted). Notably, to

determine continuity in a RICO claim predicated on wire fraud, a court can consider the overall

nature of the underlying-fraudulent scheme. See Tabas v. Tabas, 47 F.3d 1280, 1294 (3d Cir. 995).

More specifically, the continuity test requires that the Court look beyond the wires and

examine the underlying scheme or artifice because “the instances of deceit constituting the

underlying fraudulent scheme are more relevant to the continuity analysis.” Id. Consequently, in




                                                 16
   Case 3:23-cv-01310-ADC-GLS              Document 71        Filed 07/29/24      Page 17 of 19




determining whether continuity has been established, a court should focus on the duration of the

underlying scheme. Id.

       Alternatively, under open-ended continuity, “[a] RICO pattern may surely be established if

the related predicates themselves involve a distinct threat of long-term racketeering activity, either

implicit or explicit.” H. J. Inc., 492 U.S. at 242. Accordingly, a small number of related predicates

involved occurring close together in time may supply the require threat of continuity when: “the

racketeering acts themselves include a specific threat of repetition extending indefinitely into the

future or are part of an ongoing entity’s regular way of doing business.” Home Orthopedics Corp,

781 F.3d at 531 (internal citation omitted) (cleaned up).

       Here, the complaint fails to allege any predicate acts, much less related predicate acts over

a long period of time. The complaint likewise fails to allege that there was an ongoing threat of

continuous criminal activity. Here, the only allegations in the complaint that bear any detail are the

dates of certain approvals of loans and/or credit facilities and the date of certain wire transfers.

However, these acts are not obviously illegal. Approval of a loan is a perfectly legal act, as is the

transfer of funds. Plaintiff fails to allege how these loans were fraudulently procured and how the

acts of the defendants meet the statutory elements of wire fraud. This is true for all three of the

schemes. The Complaint must have, at a minimum, detailed the scheme and artifice to defraud the

bank, how the scheme and artifice employed wires in furtherance thereof, and the fraudulent

statements/misrepresentations that led to the execution of the scheme. The complaint fails to detail

one, much less multiple, instance of fraudulent representations. This falls woefully short of stating




                                                 17
    Case 3:23-cv-01310-ADC-GLS              Document 71       Filed 07/29/24      Page 18 of 19




a claim of wire fraud sufficient to support a cause of action under civil RICO. Accordingly, the

plaintiff’s complaint must be dismissed.8

    D. Plaintiff’s state law fraud causes of action fail as time barred.

       Article 1204 of the Puerto Rico Civil Code of 2020 (previously Article 1868 of the 1930

code) sets a one-year statute of limitations for personal injury claims. See Article 1868 of the Civil

Code of Puerto Rico of 1930, P.R. Laws Ann. Tit. 31, § 5298; Article 1204 of the Puerto Rico

Civil Code of 2020, P.R. Laws Ann. Tit. 31, § 9496. The Puerto Rico Supreme Court has

repeatedly held that the statute of limitations for personal injury claims falls under the cognitive

theory of damages (“teoría cognoscitiva del daño”). See Fraguada Bonilla v. Hosp. Aux. Mutuo,

186 D.P.R. 365, 374 (2012). In other words, the statute of limitations begins to accrue when the

plaintiff knew or should have known of the harm suffered, the parties responsible for that harm,

and any other necessary element to effectively commence a cause of action. See COSSEC et al. v.

González López et al., 179 D.P.R. 793, 805 (2010); Toledo Maldonado v. Cartagena Ortiz, 132

D.P.R. 249, 254–255 (1992). The one-year statute of limitations applies to all of the plaintiff’s

state law fraud claims.

       In the complaint, Plaintiff admits it new or at minimum has suspicions regarding the

Defendants and non-party co-conspirators as early as March 2020. Therefore, given the one-year

statute of limitations for damages, claims under Article 1536 of the Puerto Rico Civil Code, the

claim is time-barred and must be dismissed, as the complaint was not brought until June 12, 2023.




8
  Insofar as the plaintiff’s claims for substantive RICO violations fail, their conspiracy claim fails
as a matter of law. Moreover, the Court should decline to exercise jurisdiction over the remaining
state law claims.


                                                 18
   Case 3:23-cv-01310-ADC-GLS            Document 71       Filed 07/29/24     Page 19 of 19




       WHEREFORE, defendants Oliveros and Activo request that the Honorable Court

GRANT this motion.

       I HEREBY CERTIFY that, in accordance with Federal Rule of Civil Procedure 5, a true

and correct copy of the foregoing has been furnished via CM/ECF to all appearing parties or their

attorneys by way of their designated emailed addresses on this 29th day of July 2024.

       Respectfully submitted on this 29th day of July 2024, at San Juan, Puerto Rico.

                                                    DMR Law LLC
                                                    Attorneys for defendants Jose Antonio
                                                    Oliveros Febres and Holding Activo Ltd.
                                                    Capital Center
                                                    239 Arterial Hostos
                                                    Suite 1101
                                                    San Juan, PR 00918
                                                    Tel. 787-331-9970

                                                    s/ Maria A. Dominguez-Victoriano
                                                    Maria A. Dominguez-Victoriano
                                                    USDC-No. 210908
                                                    m.dominguez@dmrpr.com




                                               19
